                   Case 6:10-bk-18867-ABB               Doc 7      Filed 10/27/10        Page 1 of 2
[6ord23] [ORDER DETERMINING DEBTOR COMPLIANCE WITH FILING REQUIREMENTS]


                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION



In re:                                                                        Case No. 6:10−bk−18867−ABB
                                                                              Chapter 7


Sherry Jacqueline Bertucelli
3827 E. Kaley Avenue
Orlando, FL 32812




________Debtor(s)________/

                                   ORDER DETERMINING DEBTOR’S
                        COMPLIANCE WITH FILING REQUIREMENTS OF SECTION 521(a)


    Pursuant to 11 U.S.C. § 521(i)(1), if an individual debtor in a voluntary case under Chapter 7 or 13 fails to file all
of the information required under 11 U.S.C. § 521(a)(1) within 45 days after the date of the filing of the petition, the
case shall be automatically dismissed effective on the 46th day after the date of the filing of the petition. The Court
has reviewed the file in this case and has determined that the debtor has complied with the information filing
requirements of 11 U.S.C. § 521(a).

   Accordingly, it is

   ORDERED:

   1. This case is not subject to automatic dismissal under 11 U.S.C. § 521(i)(1) or (2).

   2. If any party has any reason to contest the Court’s finding that the debtor has filed all information required by 11
U.S.C. § 521(a), they shall file a Motion for Reconsideration not later than 21 days from the date of this order, and
serve such motion on the trustee, debtor and debtor’s counsel, if any. The motion should specifically identify the
information and document(s) required by 11 U.S.C. § 521(a) that the debtor has failed to file.
         DONE AND ORDERED on October 25, 2010 .




                                                                  ____________________________________________
                                                                  Arthur B. Briskman
                                                                  United States Bankruptcy Judge
                          Case 6:10-bk-18867-ABB                  Doc 7       Filed 10/27/10         Page 2 of 2
                                CERTIFICATE OF NOTICE
 District/off: 113A-6                  User: cahyen                       Page 1 of 1                          Date Rcvd: Oct 25, 2010
 Case: 10-18867                        Form ID: 6ord23                    Total Noticed: 19

 The following entities were noticed by first class mail on Oct 27, 2010.
 db           +Sherry Jacqueline Bertucelli,    3827 E. Kaley Avenue,    Orlando, FL 32812-9148
 19298368     +BAC Home Loans,   PO Box 650070,    Dallas, TX 75265-0070
 19298369     +Bank of America,   PO Box 851001,    Dallas, TX 75285-1001
 19298370     +Chase,   PO Box 15153,    Wilimington, DE 19886-5153
 19298372     +Cindy Tendler Bonsignori,    10081 Paradise Blvd.,    Treasure Island, FL 33706-3114
 19298371     +Cindy Tendler Bonsignori,    The Massage Spa,    4101 Central Ave.,Ste. B,
                St. Petersburg, FL 33713-8200
 19298374     +City of St. Petersburg,    PO Box 2842,    St. Petersburg, FL 33731-2842
 19298373     +City of St. Petersburg,    PO Box 33034,    St. Petersburg, FL 33733-8034
 19298376     +Diane Nelson CFC,   Pinellas County Tax Collecto,     PO Box 10834,    Clearwater, FL 33757-8834
 19298377     +Florida Default Law Group,    9119 Corporate Lake Dr.,    Suite 300,    Tampa, FL 33634-2380
 19298385      Florida Department of Revenue,    Bankruptcy Unit,    Post Office Box 6668,
                Tallahassee FL 32314-6668
 19298378     +Francine Rackoff, PL,    721 First Ave. North,    St. Petersburg, FL 33701-3603
 19298386    ++INTERNAL REVENUE SERVICE,    CENTRALIZED INSOLVENCY OPERATIONS,     PO BOX 21126,
                PHILADELPHIA PA 19114-0326
              (address filed with court: Internal Revenue Service,      Post Office Box 21126,
                Philadelphia PA 19114)
 19298379     +Progress Energy,   PO Box 33199,    St. Petersburg, FL 33733-8199
 19298382     +Wells Fargo Bank,   PO Box 96074,    Charlotte, NC 28296-0074
 19298381     +Wells Fargo Bank,   PO Box 536210,    Atlanta, GA 30353-6210
 19298383     +Wells Fargo Home Mortg.,    PO Box 660278,    Dallas, TX 75266-0278
 The following entities were noticed by electronic transmission on Oct 26, 2010.
 19298384     +E-mail/Text: Bankruptcy@octaxcol.com                          Orange County Tax Collector,
                Attn: Earl K. Wood,    Post Office Box 2551,   Orlando FL 32802-2551
 19298380     +E-mail/Text: ustp.region21.or.ecf@usdoj.gov                           United States Trustee,
                135 W. Central Blvd.,   Orlando, FL 32801-2440
                                                                                              TOTAL: 2
               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 19298375*       +City of St. Petersburg,   PO Box 2842,   St Petersburg, FL 33731-2842
                                                                                                                     TOTALS: 0, * 1, ## 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.
 Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
 pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Oct 27, 2010                                       Signature:
